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                               UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                   ALEXANDRIA DIVISION

     UNITED STATES OF AMERICA                   .          Criminal No. 1:04cr385
                                                .
                                                .
             vs.                                .          Alexandria, Virginia
                                                .          February 19, 2009
     ALI AL-TIMIMI,                             .          11:05 a.m.
                                                .
                           Defendant.           .
                                                .
     .   .   .     .   .   .   .   .   .    .   .

                                TRANSCRIPT OF HEARING
                       BEFORE THE HONORABLE LEONIE M. BRINKEMA
                             UNITED STATES DISTRICT JUDGE

     APPEARANCES:

     FOR THE GOVERNMENT:                        GORDON D. KROMBERG, AUSA
                                                United States Attorney's Office
                                                2100 Jamieson Avenue
                                                Alexandria, VA 22314
                                                  and
                                                JOHN T. GIBBS, ESQ.
                                                Counterterrorism Section
                                                United States Department of
                                                Justice
                                                601 D Street, N.W.
                                                Washington, D.C. 20004


     FOR THE DEFENDANT:                         JONATHAN TURLEY, ESQ.
                                                The George Washington
                                                University Law School
                                                2000 H Street, N.W.
                                                Washington, D.C. 20052
                                                  and
                                                WILLIAM E. OLSON, ESQ.
                                                Bryan Cave LLP
                                                700 13th Street, N.W.
                                                Washington, D.C. 20005-3960


                                           (Pages 1 - 7)


                 COMPUTERIZED TRANSCRIPTION OF STENOGRAPHIC NOTES



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 1   APPEARANCES:     (Cont'd.)

 2   ALSO PRESENT:                       LISA TURNER, ESQ.
                                         SA JOHN WYMAN
 3

 4   COURT SECURITY OFFICERS:            CHRISTINE GUNNING
                                         DAN HARTENSTINE
 5

 6   OFFICIAL COURT REPORTER:            ANNELIESE J. THOMSON, RDR, CRR
                                         U.S. District Court, Fifth Floor
 7                                       401 Courthouse Square
                                         Alexandria, VA 22314
 8                                       (703)299-8595

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 1                             P R O C E E D I N G S

 2                                 (Defendant present.)

 3               THE CLERK:    Criminal Case 04-385, United States of

 4   America v. Ali Al-Timimi.       Would counsel please note their

 5   appearances for the record.

 6               MR. KROMBERG:     Good morning, Your Honor.             Gordon

 7   Kromberg and John Gibbs for the United States.               With me at

 8   counsel -- with us at counsel table is Lisa Turner from NSA,

 9   and also on this side of the bar is Special Agent John Wyman

10   from the FBI.

11               THE COURT:    All right, good morning.

12               MR. TURLEY:    Good morning, Your Honor.             Jonathan

13   Turley for Dr. Ali Al-Timimi.        With me is Mr. Will Olson from

14   the law firm of Bryan Cave.

15               THE COURT:    All right.     We're going to begin this

16   matter as an open hearing, and then we will have to go to our

17   sealed session in a few minutes.

18               One preliminary matter:       Mr. Turley, the Clerk's

19   Office has sent up to me a federal bond provided by Seneca

20   Insurance Company.      This was in the original case.             It was in

21   the amount of $75,000.       I don't believe there's any further

22   need for the bond, and before we ever destroy bonds, we always

23   check with counsel of record.

24               I'm going to have my law clerk show this to you.                    If

25   there's no objection from the defense, we will go ahead and




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 1   just destroy this, or we can return it, but we need to know

 2   what you want to do with it.        As I recall, Dr. Timimi was on

 3   bond during the pendency of the trial.

 4               MR. KROMBERG:     That's correct.        And he was ordered to

 5   surrender after sentencing, Judge.

 6               THE COURT:    Right.    And so in my view, the bond has

 7   been fully satisfied.

 8               Do you agree with that, Mr. Turley?

 9               MR. TURLEY:    That's my understanding, Your Honor.

10               THE COURT:    All right.     Then if you'll just return it

11   to us, then the Clerk's Office as part of their -- Mr. Wood, if

12   you'd get that? -- as part of their practice will just go ahead

13   and destroy the bond.      All right, we've taken care of that.

14               Now, the other housekeeping matter that I want to put

15   on the record, and this can be done publicly, as I've said to

16   the government several times before, I am not going to function

17   with my hands tied behind my back as a federal judge.                    This

18   case was brought by the Executive Branch in the Judicial

19   Branch, and therefore, to a significant degree, the game has to

20   be played by the rules of the Judicial Branch.

21               I have still not gotten my law clerk who is assigned

22   to this case cleared to have access to all of the documents to

23   which the Court has had access.        I will not and do not function

24   that way.    That means I cannot have the assistance of my clerk

25   in drafting any opinions, in having my own in-house person to




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 1   discuss any legal or other issues.          I have been asking the

 2   government for several probably months at this point.                    She has

 3   a full clearance but is not cleared for the particular issues

 4   involved in this case.       Until that is done, this Court is not

 5   going to rule definitively on any of those issues that require

 6   that information be addressed.

 7               So I'm letting the government know if they want to

 8   get this matter resolved expeditiously, they need to do

 9   whatever is necessary to get her cleared, and that's all I'm

10   going to say about that.

11               Mr. Kromberg, you have no control over that, but you

12   can go up the chain of command on your side of the, of the

13   podium to get things moving.

14               MR. KROMBERG:     That's true, but I would like to put

15   on the record, Judge, that when the Executive Branch brought

16   the case, the facts were the facts, and the -- and then when

17   the defense makes an accusation that something happens that has

18   no basis in fact, that cannot cause -- that cannot come back on

19   the government that the Executive Branch's decision was somehow

20   short-sighted.

21               The decision that was made was based on a set of

22   facts that Mr. Turley doesn't know them, so it's not to his

23   discredit that he's making these accusations that things might

24   have happened, but the existence of the facts, the way they

25   were was that the Executive Branch made the decision and it




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 1   was -- there was nothing wrong with it, and I think that the

 2   Court knows that now.

 3               THE COURT:    Well, the merits of the decision have not

 4   been addressed by this Court yet.         What I'm saying is I will

 5   not work and I will not address the final merits of this

 6   issue -- these issues until I have a clerk who is cleared.

 7   There's no reason that she's not cleared, none.                We had to

 8   fight to get you cleared, if you remember.

 9               So this is ridiculous, and I think with the new

10   administration, I would expect this will not be so difficult.

11   I could be wrong on that, but in any case, that's the status of

12   things, and you need to take that message up to whoever you

13   need to take it to.

14               MR. KROMBERG:     Yes, Your Honor.

15               MR. TURLEY:    Your Honor, without addressing any

16   specifics, I just wanted to object to one aspect of what

17   Mr. Kromberg said, and that is, we cannot get into this because

18   we'll be going into the sealed discussion, but it is not true

19   that allegations that we have made, without getting into what

20   those allegations are, have been found to be invalid and

21   without substance, and I think that the representation the

22   government just made in open court is not supported by the

23   record in this case.

24               THE COURT:    All right.     Well, again, we're going

25   to -- substantive issues are not really before us today.




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 1               At this point, unless there are any other

 2   nonclassified matters that need to be discussed, I think the

 3   safest approach is we're going to have to close the courtroom,

 4   and Mr. Timimi and cocounsel will not be present because

 5   they're not cleared, and as soon as we have taken care of the

 6   courtroom, we'll go back into session.            All right, we'll recess

 7   court briefly.

 8                                 (Which were all the proceedings

 9                                  had at this time.)

10

11                           CERTIFICATE OF THE REPORTER

12         I certify that the foregoing is a correct transcript of

13   the record of proceedings in the above-entitled matter.

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16                                                    /s/
                                               Anneliese J. Thomson
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